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UNITED STATES DISTRICT COURT USDC SDN *
SOUTHERN DISTRICT OF NEW YORK DOCUMEN .
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GLORIA ELAINE CUFF MUSAJI, : DOC #:
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Plaintiff, | DATE FILED: tLe-l

-vV- : 09 Civ. 6897 (JSR)
NATIONAL PAYMENT CENTER, et al., ORDER

Defendants.

JED S. RAKOFF, U.S.D.J.

On December 7, 2009, the Honorable Andrew J. Peck, United
States Magistrate Judge, issued a Report and Recommendation
(“Report”) in the above-captioned matter recommending that the Court
dismiss plaintiff’s complaint without prejudice for failure to timely
serve it on the defendants.

None of the parties has filed any objection to the Report,

and, for that reason alone, the parties have waived any right to

further appellate review. See Thomas v. Arn, 474 U.S. 140, 147-48

(1985); Mario v. P & C Food Markets, Inc., 313 F.3d 758, 766 (2d Cir.

2002); Spence v. Superintendent, Great Meadow Corr. Facility, 219

F.3d 162, 174 (2d Cir. 2000). Accordingly, the Court hereby adopts
the Report, and, for the reasons stated therein, dismisses the
complaint without prejudice.

SO ORDERED.

Dated: New York, NY
April 9, 2010

